                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

LEVITA BREWER,

                   Petitioner,
                                                    Case No. 19-cv-1162-pp
      v.

UNITED STATES OF AMERICA,

                  Respondent.
______________________________________________________________________________

                         ORDER DISMISSING CASE
______________________________________________________________________________

      On July 14, 2020, the court issued an order screening the petition,

dismissing one ground and requiring the petitioner to amend her complaint to

provide more facts about her allegation that her counsel was ineffective in

failing to file a notice of appeal. Dkt. No. 2. The order required the petitioner to

file her amended petition in time for the court to receive it by the end of the day

on September 11, 2020. Id. at 6-7. The court mailed the order to the defendant

at FCI Waseca in Waseca, Minnesota, where she is incarcerated.

      September 11, 2020 has passed and the court has not received an

amended petition. The court has received nothing from the petitioner since she

filed her petition on August 13, 2019, over a year ago now. The court’s July 14,

2020 order advised the petitioner that if it did not receive an amended petition

by day’s end on September 11, 2020, the court would dismiss the petition on

the next business day without further notice or hearing. Id. at 7.




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     The court ORDERS that the petition is DISMISSED and will enter

judgment accordingly.

     Dated in Milwaukee, Wisconsin this 25th day of September, 2020.

                                  BY THE COURT:


                                  ______________________________________
                                  HON. PAMELA PEPPER
                                  Chief United States District Judge




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